                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,

                        Plaintiff,

        v.                                                      Case No. 21-846M(NJ)

IAN ALAN OLSON,

                  Defendant.
______________________________________________________________________________

                UNITED STATES’ MOTION FOR DETENTION HEARING
                             UNDER 18 U.S.C. § 3142


        The United States of America, by and through its attorneys, Matthew D. Krueger, United

States Attorney, and Benjamin W. Proctor, Assistant United States Attorney, hereby moves for a

detention hearing under 18 U.S.C. § 3142(f)(2).

        Section 3142(f)(2) provides in relevant part that the Court may hold a detention hearing

upon motion from the government, or on the judge’s own motion, in a case that involves (A) a

serious risk that a person will flee; or (B) a serious risk that such person will obstruct or attempt

to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a

prospective witness or juror. The hearing may be continued for up to three or five days after the

initial appearance upon a showing of good cause.

        For the reasons stated below, the government moves for a detention hearing under 18

U.S.C. § 3142(f)(2)(B), as the defendant presents a serious risk to the safety of the community

and to potential witnesses, and a serious risk of obstruction of justice.

        On March 19, 2021, the Court issued a Criminal Complaint charging Ian Alan Olson with

violations of 18 U.S.C. § 1389(a) (prohibition on attacks on United States servicemen on account



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of service) and 18 U.S.C. § 111(a) (assaulting, resisting, or impeding certain officers or

employees). The Criminal Complaint was supported by an affidavit that provided a factual basis

for the charges. Below are additional facts discovered during the investigation that relate to the

Court’s determination on whether detention is appropriate.

   I.       Olson said he will “cause mass casualty” when released from custody.

         For instance, on March 15, 2021, after Olson initially was booked into the Waukesha

County Jail on state charges, Olson made unsolicited comments while completing the clothing-

exchange process at the jail. For example, Olson stated he just returned from Washington, D.C.,

where he failed in sending his “message.” A short time later, Olson made more unsolicited

comments at the jail, stating something along the lines of: “I’m going to cause mass casualty

when I get out of jail,” “I am ready for this. How many people need to die for a message to get

across,” and “I almost have everything ready.” Olson then muttered under his breath, “People

will remember my name.”

         A jail officer who overheard these comments notified law enforcement. A sheriff’s

deputy visited the jail to check on Olson. The deputy asked Olson if he wanted to hurt himself or

others, or if Olson planned to do so. Olson replied “no” to all questions. Olson refused to speak

with a mental-health worker, who also visited the jail to talk with Olson.

   II.      Olson told the National Guard he was “willing to die” for his mission.

         As noted in the criminal complaint affidavit, a report from the U.S. Capitol Police

(“USCP”) stated Olson was detained on or around March 3, 2021, after telling a National

Guardsman that he was “maybe going to do something crazy stupid tomorrow” and asked them

not to shoot him. The report further stated that Olson told USCP he was going to “test the

National Guard tomorrow to see if they were loyal to the people or to the President,” that he was


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waiting to be led by God, that his actions would “be big,” that he was “willing to die to fulfill

this mission,” and that his actions would unite eight billion people. The USCP report states that

Olson was then transferred for a psychiatric evaluation. Additional reports indicate that Olson

was admitted to a hospital in Washington, D.C., on March 5, 2021, diagnosed with a “brief

psychotic disorder,” and discharged on March 9, 2021.

   III.      Olson has access to firearms.

          Further, the investigation revealed that Olson had access to, and may still have access to,

firearms. On March 16, 2021, after Olson was arrested on state charges, Olson’s spouse

consented to Pewaukee Police Department (“PPD”) officers searching Olson’s home in

Waukesha County, and the officers located an AR-15 rifle with scope, suppressor, and seven

magazines loaded with green-tipped and potentially armor-piercing restricted ammunition.

Olson’s spouse voluntarily turned over the rifle with scope, suppressor, magazines, and

ammunition to the PPD. Olson’s family informed PPD there were several handguns still

outstanding and would turn them over to law enforcement.

   IV.       Olson’s “manifesto” includes violent rhetoric consistent with his stated
             intentions to cause mass casualties.

          Also, during the inventory search of Olson’s vehicle, officers located several items,

including a gas mask, throwing knives, police scanner, two-way radios, a taser, and ballistic

military-style vest plates. Officers also found a three-page, hand-written “manifesto” apparently

written by Olson. The “manifesto” states, among other things:

   •      “You know I’ve been open about who I am since Superbowl Sunday . . . 2 day drive, 1
          full day in DC Dawn till Dusk 13 hour drive back . . . Came home with new friends . . .”;

   •      “I’m flying higher than any of you including the silly 3 letter agencies like the dumb DOJ
          ‘Jackass’s I call + by now it’s the whole Pentagon probably, if not this [undecipherable]
          will be the final blow that’ll put you all on the mat, n… to stand back up . . .”;


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      •   “Cause on Super bowl Sunday I formally introduced you to MY fucking presence, and
          anyone who saw my face . . . or talked to me, spoke about me to another person, spread
          my picture, my fucking name, was going to remember me, Eventually, I fucking
          guarantee it”;

      •   “you, you haven’t heard of me yet, just listen to this ONE video in its entirety, this One
          Podcast, let’s say…just share before watching, you’ll understand by the end, why I say
          that…”;

      •   “1st day in Church since childhood gave it a shot . . . so after [they] said shit like
          “Forgive those who trespass against you” I said out loud Forgive Me…For I am about to
          Tres[pass]” . . . . “Didn’t get that far cause preacher man [undecipherable] me up on his
          shoulder and carried me out and I told him to call the copes for me…it’s a Fucking move
          you dumb Feds…Gets attention you see then the dominos fall just how I expect then to . .
          .”

      •   “I know at this point cops are coming, They treated far nicer and with respect than the
          church or Feds . . .”

There are also numerous comments about “Q” and “my plan.”1

          In sum, Olson’s actions and words show that he has extreme anti-government beliefs and

violent tendencies. He has attempted violence and he has threatened violence against military

members. Olson asserted he would commit a “mass casualty event.” And Olson has traveled

great distances—from Waukesha County to Washington, D.C.—in furtherance of his “mission.”

          These comments are incredibly disturbing and indicate that Olson presents a serious risk

to the safety of others, including potential witnesses in this case given his threats and actions

toward military members. Further, Olson’s comments and writings also show his serious dislike

and distrust of the federal government, which indicates a risk that he will obstruct justice.




1
    Olson’s connection to Qanon is described in the criminal complaint affidavit.

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       Counsel for the government will provide additional comments regarding detention at the

initial appearance.

       Dated at Milwaukee, Wisconsin, this 19th day of March, 2021.

                                           Respectfully submitted,

                                           RICHARD G. FROHLING
                                           Acting United States Attorney

                                    By:    s/Benjamin Proctor

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